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 8                      UNITED STATES DISTRICT COURT
 9        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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11   RANDY WILLIAMS, individually, and on CASE NO. 2:19-cv-06497-DSF-AGR
12   behalf of other members of the general
     public similarly situated,             Honorable Dale S. Fischer
13                                          Courtroom 7D
                         Plaintiff,
14
                                            ORDER REGARDING THE
15          v.
                                            PARTIES’ STIPULATION FOR
16   SAVAGE SERVICES CORPORATION, a DISMISSAL WITH PREJUDICE
17
     Utah corporation, and DOES 1 through
     100, inclusive,                        Complaint Filed: June 24, 2019
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                      Defendants.
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 1                                           ORDER
 2         Upon consideration of the Parties’ Stipulation for Dismissal with Prejudice, the
 3   Court orders the following:
 4         The above captioned action is dismissed with prejudice, with each party to bear
 5   its respective costs and attorneys’ fees.
 6         IT IS SO ORDERED.
 7   DATED: January 12, 2021
 8                                           Honorable Dale S. Fischer
                                             UNITED STATES DISTRICT JUDGE
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